Case 1:20-cv-03442-WJM-KLM Document 19 Filed 03/08/21 USDC Colorado Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-03442-WJM-KLM

  SETH D. WILSON,

       Plaintiff,

  v.

   GC SERVICES, LP,

       Defendant.



                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


           NOW COMES Seth D. Wilson (“Plaintiff”), through the undersigned counsel, and

  in support of his Notice of Voluntary Dismissal With Prejudice, states as follows:

           Plaintiff, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

  hereby gives notice that this action is voluntarily dismissed with prejudice against the Defendant,

  GC Services, LP, with both parties to bear their own attorney’s fees and cost. This notice of

  dismissal is being filed with the Court before service by Defendant of either an answer or a motion

  for summary judgment.

  Dated: March 8, 2021                                           Respectfully submitted,

                                                                 /s/ Alexander J. Taylor
                                                                 Alexander J. Taylor, Esq.
                                                                 Sulaiman Law Group, Ltd.
                                                                 2500 South Highland Avenue
                                                                 Suite 200
                                                                 Lombard, Illinois 60148
                                                                 Phone: (630) 575-8181
                                                                 ataylor@sulaimanlaw.com
                                                                 Counsel for Plaintiff
                                                     1
Case 1:20-cv-03442-WJM-KLM Document 19 Filed 03/08/21 USDC Colorado Page 2 of 2




                                    CERTIFICATE OF SERVICE
            I hereby certify that I today caused a copy of the foregoing document to be electronically

  filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

  record.

                                                                 /s/ Alexander J. Taylor
                                                                 Alexander J. Taylor, Esq.




                                                     2
